
PER CURIAM.
Upon review of Appellants’ timely response to this Court’s show cause order, the Court hereby DISMISSES this appeal for lack of jurisdiction. See Fla. R.App. P. 9.180(b)(1)(C). See also, e.g., Landry v. AMS Staff Leasing, 993 So.2d 1071 (Fla. 1st DCA 2008); Sun Sentinel &amp; Tribune Co. v. Petrovich, 744 So.2d 1056 (Fla. 1st DCA 1999); Cadco Builders, Inc. v. Roberts, 712 So.2d 457 (Fla. 1st DCA 1998).
HAWKES, CLARK, and SWANSON, JJ., concur.
